         Case 1:15-cv-10790-DJC Document 163 Filed 04/23/19 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                    )
JOHN DOE,                                           )
                      Plaintiff                     )
               v.                                   )       Civil Action No. 15-10790-DJC
                                                    )
TRUSTEES OF BOSTON COLLEGE,                         )
                                                    )
                      Defendant                     )
                                                    )

                        JOINT PROPOSED TRIAL SCHEDULE
                    PURSUANT TO COURT’S APRIL 17, 2019 ORDER

       Pursuant to the Court’s April 17, 2019 order (Dkt. 161), counsel for the parties have

conferred about a new trial date and have consulted the Courtroom Clerk. The parties

respectfully request that trial begin on September 16, 2019 and continue into the week of

September 23, 2019 as necessary.

Trustees of Boston College,                     John Doe,

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         Case 1:15-cv-10790-DJC Document 163 Filed 04/23/19 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of April, 2019, a copy of the foregoing was served

by electronic mail using the CM/ECF System, which will then send notification of such filing to

all counsel of record.



                                                    /s/ Brian J. Young
                                                    Brian J. Young
